      Case 1:25-cv-01144-JAV         Document 82      Filed 02/24/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK; STATE OF ARIZONA;
STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT;
STATE OF DELAWARE; STATE OF HAWAII;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; COMMONWEALTH                      Case No. 1:25-cv-01144 (JAV)
OF MASSACHUSETTS; STATE OF
MINNESOTA; STATE OF NEVADA; STATE OF                 MOTION FOR ADMISSION
NEW JERSEY; STATE OF NORTH CAROLINA;                 PRO HAC VICE
STATE OF OREGON; STATE OF RHODE
ISLAND; STATE OF VERMONT; and STATE OF
WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.




     Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern

and Eastern Districts of New York, I, Jay C. Russell, hereby move this Court for an Order

for admission to practice Pro Hac Vice to appear as counsel for Plaintiff State of

California in the above-captioned action.

     I am in good standing of the bar of the State of California, and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been


                                             1
      Case 1:25-cv-01144-JAV       Document 82         Filed 02/24/25    Page 2 of 2




convicted of a felony. I have never been censured, suspended, disbarred or denied

admission or readmission by any court. I have attached the declaration pursuant to Local

Rules 1.3 and 1.9.

Dated: February 24, 2025                    Respectfully submitted,


                                                s/ Jay C. Russell
                                            JAY C. RUSSELL
                                             Deputy Attorney General
                                            CALIFORNIA DEPARTMENT OF JUSTICE
                                            Office of the California Attorney General
                                            455 Golden Gate Avenue, Suite 11000
                                            San Francisco, CA 94102-7004
                                            Telephone: (415) 510-3617
                                            Fax: (415) 703-5843
                                            Email: Jay.Russell@doj.ca.gov

                                            Attorney for Plaintiff State of California




                                            2
